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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                    CIVIL ACTION NO. 1:12cr12 KS-09

JOHN FATU ANDERSON


                             CERTIFICATE OF APPEALABILITY

       A final order adverse to the applicant having been filed in the captioned habeas corpus case,
in which the detention complained of arises out of process issued by a state court or a proceeding
pursuant to 28 U.S.C. § 2255, the court, considering the record in the case and the requirements of
28 U.S.C. § 2253, Rule 22(b) of the Federal Rules of Appellate Procedure, and Rule 11(a) of the
Rules Governing Section 2254 Cases in the United States District Courts, hereby finds that:

        X A Certificate of Appealability should not issue. The applicant has failed to make a
       substantial showing of the denial of a constitutional right.

          A Certificate of Appealability should issue for the following specific issue(s):



Date: June 22, 2016
                                                   s/ Keith Starrett
                                              UNITED STATES DISTRICT JUDGE
